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           ORDERED in the Southern District of Florida on November 26, 2024.




                                                                      Laurel M. Isicoff, Judge
                                                                      United States Bankruptcy Court
___________________________________________________________________________




                                        UNITED STATES BANKRUPTCY COURT
                                         SOUTHERN DISTRICT OF FLORIDA
                                                 MIAMI DIVISION
                                                www.flsb.uscourts.gov

           In re:                                                      Chapter 11

           SHIFTPIXY, INC. et, al.1                                    Case No. 24-21209-LMI

                 Debtorss.                                             (Jointly Administered)
           _______________________________/

                ORDER GRANTING DEBTORS’ EXPEDITED OMNIBUS MOTION SEEKING
                ENTRY OF AN ORDER (A) AUTHORIZING THE REJECTION OF CERTAIN
                UNEXPIRED LEASES AND (B) ABANDONMENT OF CERTAIN PERSONAL
                             PROPERTY EFFECTIVE NUNC PRO TUNC
                             TO THE SURRENDER DATE [ECF NO. 62]

                    THIS MATTER came before the Court on November 21, 2024 at 9:30 a.m. on the

           hearing for the Debtors’ Expedited Omnibus Motion Seeking Entry of an Order (A) Authorizing

           1
             The Debtorss are: (i) Shiftpixy, Inc.; (ii) Shiftpixy Staffing, Inc.; and (iii) ReThink Human Capital Management,
           Inc. The address of the Debtorss is 1401 NW 25th Street, Miami, FL 33142.
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the Rejection of Certain Unexpired Leases and (B) Abandonment of Certain Personal Property

Effective Nunc Pro Tunc to the Surrender Date (the “Motion”) [ECF No. 62]. The Court, having

reviewed the Motion, and pleadings in this case, having heard arguments of counsel and being

fully advised on the premises, it is hereby,

       ORDERED, as follows:

       1.      The Motion is hereby GRANTED.

       2.      The Contracts as referenced in the Motion are REJECTED retroactive to the

Surrender Date.

       3.      This Court retains jurisdiction with respect to all matters arising from or related to

the implementation of this Order.

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Submitted by:
Isaac M. Marcushamer, Esq.
DGIM Law, PLLC
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[Isaac M. Marcushamer, Esq. is directed to provide a copy of this signed Order to all parties of
record and to file a Certificate of Service conforming with Local Rule 2002-1(F), within 3 days
of entry of this Order]




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